
January 17, 2000 is set as the date for appellant to file his initial periodic progress report. Appellant shall file additional *816periodic progress reports every two months thereafter until the filing of appellant’s reply brief. Respondent shall file a periodic progress report on June 19, 2000. March 17, 2000 is set as the date for appellant to file 15 copies of his brief and of the issue identification statement required by section 510.8 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.8 [c]), with proof of service. April 17, 2000 is set as the date by which all motions for amicus curiae relief must be noticed to be heard. All such motions must conform to section 510.12 (c) of the Rules of the Court of Appeals in Capital Cases (22 NYCRR 510.12 [c]). July 3, 2000 is set as the date for respondent to file 15 copies of a brief responding to appellant and, as appropriate, amici curiae, with proof of service. July 3, 2000 is set as the date that the People shall file one copy of all transcripts and documents concerning any Grand Jury testimony or evidence and any decisions attendant thereto. August 21, 2000 is set as the date by which appellant shall file 15 copies of his reply brief which shall also respond, as appropriate, to amici curiae, with proof of service. Issues regarding the proportionality or excessiveness of the sentence shall not be briefed by the parties to the appeal or any amici until so directed by the Court of Appeals.
